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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 SEAN M. GERLICH, et al.,

         Plaintiffs,
                 v.                                         Civil Action No. 08-1134 (JDB)
 UNITED STATES DEPARTMENT
 OF JUSTICE, et al.,

         Defendants.


                                              ORDER

       On February 9, 2009, Plaintiffs filed [71] a motion for class certification. Subsequently,

on February 16, 2009, defendant Esther McDonald filed [74] a motion to strike the class

allegations or, in the alternative, to stay class certification briefing and related proceedings

pending the resolution of defendants' motions to dismiss plaintiffs' second amended complaint.

       Under the Local Rules, responses to plaintiffs' motion for class certification are due by

February 20, 2009, and responses to defendant McDonald's motion are due by February 27,

2009. In the interests of judicial economy and fairness to the parties, it is hereby ORDERED

that all briefing on [71] plaintiffs' motion for class certification is hereby STAYED at this time

until the Court resolves [74] defendant McDonald's motion or until further Order of the Court.

       SO ORDERED.



                                                      /s/ John D. Bates
                                                      JOHN D. BATES
                                                  United States District Judge

Dated: February 18, 2009
